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                                                                                                      United States District Court
                                        UNITED STATES DISTRICT COURT                                    Southern District of Texas
                                         SOUTHERN DISTRICT OF TEXAS                                        ENTERED
                                             HOUSTON DIVISION
                                                                                                         October 02, 2018
                                      CIVIL ACTION NUMBER 4:18−cv−03531                                 David J. Bradley, Clerk

                                    ORDER FOR CONFERENCE DEADLINE
                                                   AND
                                    DISCLOSURE OF INTERESTED PARTIES

                                             Judge Gray H. Miller
                                        515 Rusk Avenue, Courtroom 9D
                                              Houston, TX 77002
                                    DUE DATE (deadline only): January 25, 2019

COURT PROCEDURES AND ATTACHMENTS, WHICH ARE APPLICABLE TO CASES ASSIGNED TO JUDGE GRAY H. MILLER CAN BE OBTAINED ON
THE DISTRICT WEBSITE AT www.txs.uscourts.gov.


1.     The Court does not hold a scheduling conference. Once all of the parties are before the Court, they should agree
       on a scheduling order, then submit it to the Court through the case manager, Rhonda Moore−Konieczny, via
       email to cm4141@txs.uscourts.gov. The following requirements apply when submitting the proposed agreed
       scheduling order: the dispositive motion and all other pretrial motion deadlines must be the same date; there must
       be four months between the motion deadlines and the docket call; the docket call will be either eleven, twelve, or
       thirteen months from the date the case was filed. In the event the parties are unable to reach an agreement prior to
       the due date, they should contact the case manager via email. The Court's Scheduling/Docket Control Order
       form is available on the district court website.

2.     Counsel shall file with the clerk within fifteen days from receipt of this order a certificate listing all persons,
       associations of persons, firms, partnerships, corporations, affiliates, parent corporations, or other entities that are
       financially interested in the outcome of this litigation. If a group can be specified by a general description,
       individual listing is not necessary. Underline the name of each corporation whose securities are publicly traded. If
       new parties are added or if additional persons or entities that are financially interested in the outcome of the
       litigation are identified at any time during the pendency of this litigation, then each counsel shall promptly file an
       amended certificate with the clerk.This satisfies the requirements under FED.R.CIV.P.7.1.

3.     FED.R.CIV4(m) requires defendant(s) to be served within 90 days after the filing of the complaint. The failure of
       plaintiff(s) to file proof of service within 90 days after the filing of the complaint may result in dismissal of this
       action by the Court on its own initiative.

4.     After the parties confer as required by FED.R.CIVP.26(f), counsel shall prepare and file by the due date listed
       above, a joint discovery/case management plan (this is a separate document from the scheduling/docket control
       order). The Court's joint discovery/case management plan is available on the district court website.

5.     Counsel who file or remove an action must serve a copy of this order with the summons and complaint or with
       the notice of removal.

6.     Attendance by an attorney who has authority to bind the party is required at the conference either in person or by
       telephone, in the event a scheduling order cannot be agreen upon. Please inform the Court if you wish to
       participate by telephone.

7.     Counsel shall discuss with their clients and each other whether alternative dispute resolution is appropriate and
       shall advise the Court of the results of their discussions.

8.     A person litigating pro se is bound by the requirements imposed upon counsel in this order.

9.     Failure to comply with this order may result in sanctions, including dismissal of the action and assessment of fees
       and costs.
                                                                                                   By Order of the Court
